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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11    PETER JOHNSON,                   ) Case No. CV 19-10380-PA (JPR)
                                       )
12                      Petitioner,    )          J U D G M E N T
                                       )
13                 v.                  )
                                       )
14    W.L. MONTGOMERY, Warden,         )
                                       )
15                      Respondent.    )
                                       )
16
           Pursuant to the Order Accepting Findings and Recommendations
17
     of U.S. Magistrate Judge,
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           IT IS HEREBY ADJUDGED that this action is dismissed with
19
     prejudice.
20
21
22   DATED: October 8, 2021
                                   PERCY ANDERSON
23                                 U.S. DISTRICT JUDGE

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